(Page1 of 10)

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MARK C. RASKOFF (SBN: 72330)
DENNIS A. PHILLIPS (SBN: 213043)
DAVID L. HART (SBN: 219517)

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Telephone: 5l 0-596-0888
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JANE DOE l; JANE DOE Il; LAKSHMI
and JARMANTI PRATTIPATI as Parents
and Successors in lnterest of CHANTI
JYOTSNA DEVI PRATTIPATTI; JANE

~ DOE III; JANE DOE IV; JANE DOE V;
DANE DOE _VI; JANE DOE VII; JANE
DOE -VIII; SREEKANTH KOLLIPARA;
and All Others Similarly Situated

Plaintiffs,

VS.

LAKIREDDY BALI REDDY, an
individual; VIJAY KUMAR
LAKIREDDY, an individual; PRASAD
LAKIREDDY, an individual;
JAYAPRAKASH REDDY LAKIREDDY,
an individual; VENKATESWARA
REDDY LAKIREDDY, an individual; and
the businesses they controlled and/or
operated, including PASAND MADRAS
CUISINE, a Califomia corporation;
PASAND, INC., a California corporation;
LAKIREDDY INVESTMENT CO., a
California limited liability corporation; L.B.
REDDY ESTATE CO., a California limited
liability company; JAY CONSTRUCTION,
a California sole proprietorship; ACTIVE

v TECH SOLUTIONS, a Califomia
corporation; VANI COMPUTER _
SOLUTIONS, a Califomia limited liability
corporation; LAKIREDDY BALI REDDY
d/b/a REDDY REALTY CO., a California
_sole proprietorship; and ROES l through
lOO, inclusive,

Defendants.

 

 

 

' MICHAEL W. BoLECHoWSKI (SBN: 118725)

BISHOP, BARRY, HOWE, HANEY & RYDER

Attorneys for all Defendant_s except Prasad Lakireddy

lN THE UNITED STATES DISTRICT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

ease No. C~02-5570-wHA

l

vRESPONSES TO PLAINTIFF LAKSHMI

PRATTIPATI’S FIRS'I` SET OF
INTERROGATORIES TO DEFENDANT
JAY CONSTRUCTION ' '

RESPONSES TO LAKSHM] PRATTIPATI’S INTERROGATORIES TO JAY CONSTRUCTION, SET ONE
C-02-5570-WHA

 

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PROPOUNDING PARTY: PLAINTIFF LAKSHMI PRATTIPATI

RESPONDING PARTY: JAY CONSTRUCTION
SET NUMBER: ONE

l. Pleas_e state all factual or legal defenses to the allegations in PLA_INTIFFS’ Second
Amended Complaint that YOU intend to assert at the trial of this matter.

RESPONSE: Objection, this interrogatory seeks information protected by the Attorney/Client,
Work Product and Joint Defense Privileges. Furthermore, this interrogatory is premature as
defendants are still developing which factual and/ or legal defenses which they intend to assert at
trial. Subject to and without waving said objections, responding party answers as follows:
Defendants may present any and all factual and/or legal defenses identified in Defendants Answer
to PLAINTIFFS’ Second Amended Complaint and reserve the right to assert any'and all
additional defenses stated therein. Defendants do not know which of PLAINTIFFS’ claims,'if
any, will survive to thetime of trial and we reserve the right to seek summary judgment and/or
adjudication on any and all claims, including but not limited to PLAINTIFFS’ RlCO claims
under 18 U.S.C. §l962(c) and (d), PLAIN_TIFFS’ claims under the Anti-Peonage Act (42 U.S.C.
§1994), PLAINTIFFS’ claims of Peonage, Involuntary Servitude'and Forced Labor, and any

claims made pursuant to the Alien Tort Clairns Act.

2. F or every defense identified in response to Interrogatory No. 1, please state all facts that
support or otherwise RELATE TO that defense.
RESPONSE: Objection, this interrogatory seeks information protected by the Attomey/Client?

l Work Product and Joint Defense Privileges and is vague and ambiguous, overbroad and
oppressive with regard to the terms “RELATE TO”. Subject to and without waving said
objections, responding party answers as follows: Defendants refer PLAINTIFFS to defendants
Answer to PLAl`NTIFFS’ Second Amended Complaint and reserve the right to present any and
all facts, Whether now known or in the future discovered, in support of every defense factually or

legally available to defendants We may also call all individuals identified in our Rule 26

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RE_SPONSES TO LAKSHMI PRATTIPATI’S INTERROGATORIES TO JAY CONSTRUCTION, SET ONE
C-02-5570-WHA

 

(Page 3 of 10)

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Disclosures to testify concerning their treatment by defendants Defendants also may call Does
III, IV, V and VI to describe their working conditions and treatment by the defendants
Defendants may call former employees who have been deposed to describe their working
conditions and treatment by defendants Defendants will offer expert testimony as described-in
our FRCP 26(a)(2)(A) Disclosures. Defendants will testify on their own behalf concerning the

admissions and denials contained in their answer.

3. Please state every affirmative defense YOU intend to assert in response to PLAINTIFFS’
Second Amended Complaint. n

RESPONSE: Objection, vague, ambiguous and unintelligible. The information requested is
equally available to the requesting party. Counsel should refer to our answer to PLAINTIFFS’

Second Amended Complaint to see what affirmative defenses have been asserted in response

thereto.

4. - Do YOU contend that any PLAINTIFF is responsible for any of the damages asserted in
the Second Amended Complaint? ' '
RESPONSE: Objection, this interrogatory seeks information protected by the Attorney/Client,
Work Product and Joint Defense Privileges, is compound,. conjunctive and disjunctive, and vague
and_ambiguous as to terms “responsible for”. Subject to and without waiving said objections,

responding party answers as follows: Yes.

51 If your answer to Interrogatory No. 4 is yes, please state all facts YOU rely upon to

support YOUR contentions

RESPONSE: Defendants refer PLAINTIFFS to defendants’ Answer to PLAINTIFFS’ Second
Amended Complaint Some or all PLAINTIFFS conspired to enter the United States illegally.

Some of all PLAINTIFFS failed to mitigate their physical, psychological and/or economic

damages

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RESPONSES TO LAKSHMI PRATI`IPATI’S lNTERROGATORlES TO JAY CONSTRUC'I`ION, SET ONE
C-02-5570-WHA

 

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6. Do YOU contend that the claims of or damages asserted by any PLAINTIFF are barred by_
the doctrine of unclean hands? b

RESPONSE: Objection, this interrogatory seeks information protected by the Attorney/Client,
Work Product and Joint Defense Privileges. Subject to and without waiving said objections,

responding party answers as follows: Yes.

7. If YOUR answer to lnterrogatory No. 6 is yes, please state all facts YOU rely upon to
support YOUR contentions

RESPONSE: PLA_INTIFFS and potential class members knowingly and willingly agreed and
conspired to enter the country under false visas, to be paid “off the books” and to receive free rent
and free food in order to avoid paying taxes PLAlNTIFFS, potential class members, and in l
particular DOE VIII, may have committed Federal and/or State ncrimes, including but not limited
to immigration fraud, tax_fraud, welfare fraud, and child molestation. The basis of these

contentions are set forth in our Motion to Dismiss PLAINTIFFS’ First Amended Complaint

8. Do YOU contend that the claims of or damages asserted by any PLAINTIFF are barred by
the doctrine of in pari delicto?

RESPONSE: Objection, this interrogatory seeks information protected by the Attorney/Client,
Work Product and Joint Defense Privileges. Subject to and without waiving said objections

responding party answers as follows: Yes.

9. If YOUR answer to Interrogatory No. 8 is yes_, please state all facts YOU lrely upon to
support YOUR contentions

RESPONSE: PLAINTIFFS and potential class members knowingly and willingly agreed and
conspired to enter the country under false visas, to be paid “off the bo'oks” and to receive free rent
and free food in order to avoid paying taxes PLAIN'I`IFFS, potential class members, and in
particular DOE VIII, may have committed F ederal and/or State crimes, including but not limited
to immigration fraud, tax fraud, welfare fraud, and child molestation. The basis of these

contentions are set forth in our Motion to Dismiss PLAINTIFFS’ First Amended Complaint.

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RESPONSES TO LAKSHMI PRATI`IPAT]’S lNTERROGATORlES TO JAY CONSTRUCTION, SET ONE
§ C-02-5570-WHA

 

 

(Page5 of 10)

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10. Do YOU contend that Jane Does I, II, lII, V, VI and Chanti Prattipatti were NOT all under
18 years of age when they first arrived in the United States?

RESPONSE: Objection, this interrogatory seeks information protected-by the Attomey/Client,
Work Product and Joint Defense Privileges, is compound, conjunctive and_ disjunctive, and vague l
and ambiguous, seeks expert opinion and/or legal conclusion. Subject to and without waiving _ j
said objections, responding party answers as follows: Defendants do not know PLAINTIFFS

actual ages

ll, If YOUR answer to Interrogatory No; 11 is yes, please state all facts YOU rely upon to
support YOUR contentions about PLAINTIFFS’ and decedent’s ages

RESPONSE§ Objection, this interrogatory seeks information protected by the Attomey/Client,
Work Product and Joint Defense Privileges, is compound, conjunctive and disjunctive, vague and
ambiguous and calls for expert opinion and/or legal conclusion Subj ect to and without waiving

said objections, responding party answers as follows: N/A.

12. Do YOU contend that any parent of Jane Does I, II, III, V, VI and/or Chanti Prattipatti
knew, prior to L.B. Reddy’s arrest in January 2000, that L.B. Reddy was having sexual relations
with his or her daughter? v n '
RESPONSE: Objection, this interrogatory seeks information protected by the Attorney/Client,
Work Product and Joint Defense Privileges, is compound, conjunctive and disjunctive, and vague
and ambiguous seeks expert opinion and/or legal conclusion.' Subject to and without waiving
said objections, responding party answers as follows: Yes. DOES I, III, V and Vl. As far as

DOE II and Chanti Prattipati are concemed, defendants do not know at this time.

13. lf YOUR answer to Interrogatory No, 13 is yes, please state all facts YOU rely upon to
support YOUR contentions
RESPONSE: Objection, this interrogatory seeks information protected by the Attomey/Client,

Work Product and Joint Defense Privileges, is compound, conjunctive and disjunctive, vague and
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RESPONSES TO LAKSHMI PRA'I`TIPATI’S IN'I'ERROGATORIES TO JAY CONSTRUCTION, SET ONE
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ambiguous and calls for expert opinion and/or legal conclusion. Subject to and without waiving
said objections, responding party answers as follows: As far as DOES I, Ill, V and VI; their
relationship was open and mutual. See depositions of all DOE plaintiffs As far as DOE II and

Chanti Prattipati are concerned, this matter is still under investigation

14. Do YOU contend that any PLAINTIFF engaged in SEXUAL RELATIONS in exchange
for money in the United States? l

RESPONSE: Objection, this interrogatory seeks information protected by the Attorney/Client,
Work Product and Joint Defense Privileges, is compound, conjunctive and disjunctive, and vague,

ambiguous Subj ect to and without waiving said objections, responding party answers as follows: _

'Defendants have not formed an opinion with respect to this contention at this time.

15. If your answer to Interrogatory No. 14 is yes, state all facts you rely upon to support you
contentions about PLAINTIFFS’ sexual relations in exchange for money.

RESPONSE: N/A.

16. Do you contend that any PLAINTIFF required, asked or forced anyone to engage in
SEXUAL RELATIONS in exchange for money in the United States? l

RESPONSE: Objection, this interrogatory seeks information protected by the Attorney/Client,
Work Product and Joint Defense Privileges, is compound, conjunctive and disjunctive, vague and
ambiguous and calls for expert opinion and/or legal conclusion Subject to and without waiving
said objections, responding party answers as follows: Defendants have not formed an opinion

with respect to this contention at this time.

17. If your'answer to Interrogatory No. 16 is yes, state all facts you rely upon to support you

contentions about PLAINTIFFS’ asking, requiring or forcing anyone to engage in sexual relations

in exchange for money.

RESPONSE: N/A.

6
RESPONSES TO LAKSHMI PRATTIPATI’S lNTERROGATORIES TO JAY CONSTRUCT!ON, SET ONE
C-02-5570-WHA

 

(Page7 of 10)

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18. Do you contend that any PLAINTIFF has ever made any false accusation of rape?
RESPONSE: Objection, this interrogatory seeks information protected by the Attorney/Client,
Work Product and Joint Defense Privileges, is compound, conjunctive and disjunctive, vague and
ambiguous and calls for expert opinion and/or legal conclusion Subject to and without waiving

said objections, responding party answers as follows: Yes. '

_19. If your answer to Interrogatory No. 18 is yes, state all facts you rely upon to support you
contentions about any PLAINTIFF making any false accusation of rape.

RESPONSE: With respect to DOES l, ll, IIl, IV, V, and VI, see Answers_to Interrogatories,
Petitions for Political Asylurn, depositions of DOES I, II, III, IV, V and VI, depositions of L.B
Lakireddy, Jayaprakash Lakireddy, Vijay Lakireddy and Venkateswara Lakireddy,

20. Please state all facts RELATED TO any occasion upon which any PLAINTIFF was
required to engage in SEXUAL RELATIONS in the United States in exchange for money or
other compensation

RESPONSE: Objection, this interrogatory seeks information protected 'by the Attorney/Client,
Work Product and Joint Defense Privileges, is compound, conjunctive and disjunctive, vague and
ambiguous, overbroad and oppressive as to terms “RELATED TO”, assumes facts not in
evidence, and calls for expert opinion and/or legal conclusion Subject to and without waiving
said objections responding party answers as follows: Defendants are not in possession of any

facts responsive to this interrogatory at this time.

21 . Please state all facts RELATED TO any occasion upon which any PLAINTIFF was asked
to engage in SEXUAL RELATIONS in the United States in exchange for money or other

compensation

RESPONSE: Objection, this interrogatory seeks information protected by the Attomey/Client,

Work Product and Joint Defense Privileges, is compound, conjunctive and disjunctive, vague and

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REsPoNsEs To LAKSHMI PRATTIPATI’s INTERROGATORJES To JAY coNsTRUCTloN, sET oNE
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ambiguous overbroad and oppressive as to terms “RELATED TO”, assumes facts not in
evidence, and calls for expert opinion and/or legal conclusion.' Subject to and without waiving
said objections, responding party answers as follows: Defendants are not in possession of any

facts responsive to this interrogatory at this time.

22. Please state all facts RELATED TO any occasion upon which any PLAINTIFF was paid
for having SEXUAL RELATIONS with anyone in the United States

RESPONSE: Objection, this interrogatory seeks information protected by the Attorney/Client§
Work Product and Joint Defense Privileges, is compound, conjunctive and disjunctive, vague and
ambiguous overbroad and oppressive as to terms “RELATED TO”, assumes facts not in
evidence, and calls for expert opinion and/or legal conclusion Subject to and without`waiving
said objections, responding party answers as follows: Defendants are not in possession of any

facts responsive to this interrogatory at this time.

23. Please state all facts RELATED TO any occasion upon which any DEFENDANT'
received money or other compensation in exchange for any PLAINTIFF having SEXUAL
RELAT]ONS with'anyone in the United States

RESPONSE: Objection, this interrogatory seeks information protected by the Attorney/Client,
Work Product and J oint Defense Privileges is compound, conjunctive and disjunctive, vague and
ambiguous overbroad and oppressive as to terms “RELATED TO”, assumes facts not in j
evidence, and calls for expert opinion and/or legal conclusion Subject to and without waiving
said objections responding party answers as follows: Defendants are not in possession of any

facts responsive to this interrogatory at this time.

24. Please describe all efforts YOU have made since 1996 to comply with the immigration

1 laws of the _United States as they relate to any business(es) you own or operate.

RESPONSE: Objection, this interrogatory seeks information protected by the Attomey/Client§
Work Product and Joint Defense Privileges, is compound, conjunctive and disjunctive, vague and
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RESPONSES TO LAKSHMI PRATTIPATI’S INTERROGATOR.IES TO JAY CONSTRU_CTION, SET ONE
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l l ambiguous overbroad and oppressive as to terms “all efforts” and “the immigration laws of the
2 United States”, and calls for expert opinion and/or legal conclusion
3
4 25. Please IDEN'I`IFY all persons including attorneys and investigators who have visited
` 5 lndia and spoken with residents of Velvedam on YOUR behalf since January of 2000. l
6 RESPONSE: Objection, this interrogatory seeks information protected by the Attorney/Client,
7 Work Product and Joint Defense Privileges.
8
9 Dated: November 21, 2003 l BISHO, BARR RRY, H()WE, HANEY & RYDER
5 §§ 10
§ §§ 11 MICHAEL W BOLECHOWSKI
°8 §§ 12 MARK C. RASKOFF
§ g 355 DENNIS A. PHILLIPS
§ §§__§ 13 DAVID L. HART
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RESPONSES 'l`O LAKSHMl PRATTIPATI’ S INTERROGATORIES TO JAY CONSTRUCTION, SET ONE

 

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VERIFICATION

RESPONSES TO LAKSHMI PRATT[PATI_’S FIRST SET OF INTERROGATORIES TO
DEFENDANT JAY CONSTRUCTION., SET ONE '

[X ] I, Lakireddy Bali Reddy arn an owner of the Defendant and the foregoing answers are
based upon my investigation into the facts concerning each specific request.

[X] 1 am an officer or agent of the party providing this Verification, and am authorized to
make this Verification for and on its behalf, and I make this Verification for that reason; I
have read the attached document(s) and know the contents; 1 am informed and believe and
upon that ground allege that the matters stated in said document(s) are true.

[ ] I am one of the general partners of the partnership providing this Verification, and am
authorized to make this Verification for and on behalf of the partnership, and 1 make this
Verification for that reason; I have read the attached document(s) and know the contents;- 1
am informed and believe and upon that ground allege that the matters stated in said
document(s) are true. , ` t ‘ '

[ ] ' 1 am one of the attorneys for the party required to provide this verified Answer; 1 make
this Verification on behalf of said party who is absent from the County of Alameda,
California, where I have my ofiice; 1 have read the attached Answer and know its

- contents; 1 am informed and believe and on that ground allege that the matters stated in it
are true.

[ ] I am one of the attorneys for the party required to provide this verified response. 1 make
' this Ver'ification for the reason checked below:

[ ] because the facts alleged in the attached document are within my own
personal knowledge, and are not within the knowledge of the responding
party or any of its agents or employees;

[ ] because the responding party's whereabouts are unknown to me, said party
has failed to communicate with me concerning the subject litigation, and it
is impossible, impractical or futile to secure said party's Verification to the
attached docurnent;

The matters stated in the attached document are true of my own knowledge, except as to
any matters stated therein upon information and belief, and as to those matters I believe
them to be true.

1 declare under penalty of perjury under the laws of the State of California that the foregoing is
true and correct and that this Verification was executed on 200__ at

g California.

ap'ral<ésll Reddy Lakireddy
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